      Case 3:15-cr-02042-GPC                Document 50         Filed 01/08/16             PageID.170          Page 1 of 4
                                                                                                                       f·::~·
AO 2458 (CASDRev. 08113) Judgment in a Criminal Case                                                             FI L  ,   .'fl : ; •• ,   ..   J


                                     UNITED STATES DISTRICT COURT                                                JAN 0 8 2016
                                        SOU THERN DISTRICT OF CALIFORNIA                                 SOU~~EEi~ DI~T~I~~~
                                                                                                         BY
                                                                                                                             :J,''F'·:T"".
                                                                                                                    • "~ DEP'u'TY

             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE                                            U
                        V.                                          (For Offenses Committed On or After November 1, 1987)
                TERRY DAVID HAYES (3)
                                                                       Case Number:         15CR2042·GPC

                                                                    KEITH RUTMAN
                                                                    Defendant's Attorney
REGISTRATION NO.                 42592298
D -
THE DEFENDANT:
IZI pleaded guilty to count(s)        1 of the Indictment.

D     was found gUilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                       Count
Title & Section                   Nature of Offense                                                                   Number(s)
8: 1324(a)( 1)(A(ii),(v)(I)       Conspiracy to transport certain aliens.                                                1




    The defendant is sentenced as provided in pages 2 through                 4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D     The defendant has been found not gUilty on count(s)

IZI Count(s)     Remaining                                    are         dismissed on the motion of the United States.
                ------~--------------------
      Assessment: $100.00 waived.
IZI


IZI   Fine waived             D Forfeiture pursuant to order filed                                               , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    JanUary 8. 2016
                                                                    Date of lmgqsition of Sentence

                                                                             u-vbLQ
                                                                    HON.GONZALOP.CURIEL .
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                     15CR2042-GPC
       Case 3:15-cr-02042-GPC          Document 50         Filed 01/08/16      PageID.171        Page 2 of 4
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                 TERRY DAVID HAYES (3)                                                   Judgment - Page 2 of 4
CASE NUMBER:               15CR2042-GPC

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 13 months.




 o      Sentence imposed pursuant to Title 8 USC Section I 326(b).
 IZl    The court makes the following recommendations to the Bureau of Prisons:
        Designation to the Western Region of the United States, Southern California area.




 o      The defendant is remanded to the custody of the United States Marshal.

 o      The defendant shall surrender to the United States Marshal for this district:
        o     at
                   ----------------- A.M.                     on
                                                                   -------------------------------------
        o     as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o      Prisons:
        o     on or before
        o     as notified by the United States Marshal.
        o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

        Defendant delivered on
                                 -------------------------- to -------------------------------
 at                                       , with a certified copy of this judgment.
       ------------------------


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                       15CR2042-GPC
           Case 3:15-cr-02042-GPC                  Document 50              Filed 01/08/16            PageID.172            Page 3 of 4
    AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

    DEFENDANT:                   TERRY DAVID HAYES (3)                                                                        Judgment - Page 3 of 4
    CASE NUMBER:                 15CR2042-GPC

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a tenn of:
3 years.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September J3, J 994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
D
          substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et
D         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifYing offense. (Check if applicable.)
D         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling. training, or other acceptable
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered:
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
         with such notification requirement.



                                                                                                                                    15CR2042-GPC
      Case 3:15-cr-02042-GPC         Document 50       Filed 01/08/16      PageID.173      Page 4 of 4
AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:              TERRY DAVID HAYES (3)                                                Judgment - Page 4 of 4
CASE NUMBER:            lSCR2042-GPC

                                SPECIAL CONDITIONS OF SUPERVISION

     1. Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
        Office at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
        or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to searches
        pursuant to this condition.

     2. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

     3. Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period up to 120
        days.

II




                                                                                                 15CR2042-GPC
